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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA                       SECOND SUPERSEDING
                                                INDICTMENT

                   v.                           Case No. 1:20-cr-107

                                                Violations: 18 U.S.C. §§ 1470, 2251(a),
                                                2251(e), 2252(a)(2), 2252(b)(1), 2422(b),
 DAWSON M. ROUSE                                and 2428

                                      COUNT ONE

                         Attempted Sexual Exploitation of a Child

The Grand Jury Charges:

       From in or about January 2020 to in or about May 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, E.V., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).
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                                      COUNT TWO

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about January 2020 to in or about May 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce E.V., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                     COUNT THREE

                             Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about January 2020 to in or about May 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce a minor, namely, M.G., to

engage in sexually explicit conduct for the purpose of producing visual depictions of such

conduct, knowing, and having reason to believe, that such visual depictions if produced,

as requested, would result in their transmission using a means and facility of interstate

and foreign commerce, specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                     COUNT FOUR

                       Transfer of Obscene Materials to a Minor

The Grand Jury Further Charges:

       From in or about January 2020 to in or about May 2020, in the District of North

Dakota, and elsewhere,

                                     DAWSON M. ROUSE

did, by using any means of interstate commerce, knowingly transfer obscene matter to an

individual, M.G., who had not attained the age of 16 years, knowing the individual had

not attained the age of 16 years;

       In violation of Title 18, United States Code, Section 1470.




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                                      COUNT FIVE

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about March 2020 to in or about May 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce A.D., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                       COUNT SIX

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about December 2019 to in or about May 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce R.J., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                     COUNT SEVEN

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about January 2019 to in or about April 2019, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, A.B., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                     COUNT EIGHT

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       In or about April 2019, in the District of North Dakota,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce A.B., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                      COUNT NINE

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about March 2019 to in or about September 2019, in the District of

North Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, M.R., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                       COUNT TEN

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about March 2019 to in or about September 2019, in the District of

North Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce M.R., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                    COUNT ELEVEN

                       Transfer of Obscene Materials to a Minor

The Grand Jury Further Charges:

       From in or about March 2019 to in or about September 2019, in the District of

North Dakota, and elsewhere,

                                     DAWSON M. ROUSE

did, by using any means of interstate commerce, knowingly transfer obscene matter to an

individual, M.R., who had not attained the age of 16 years, knowing the individual had

not attained the age of 16 years;

       In violation of Title 18, United States Code, Section 1470.




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                                    COUNT TWELVE

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about February 2018 to in or about June 2018, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, B.T., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                   COUNT THIRTEEN

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about January 2019 to in or about December 2019, in the District of

North Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, L.W., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                  COUNT FOURTEEN

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about January 2019 to in or about December 2019, in the District of

North Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce L.W., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                    COUNT FIFTEEN

                       Transfer of Obscene Materials to a Minor

The Grand Jury Further Charges:

       From in or about January 2019 to in or about December 2019, in the District of

North Dakota, and elsewhere,

                                     DAWSON M. ROUSE

did, by using any means of interstate commerce, knowingly transfer obscene matter to an

individual, L.W., who had not attained the age of 16 years, knowing the individual had

not attained the age of 16 years;

       In violation of Title 18, United States Code, Section 1470.




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                                    COUNT SIXTEEN

                             Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about December 2019 to in or about May 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce a minor, namely, J.T., to engage

in sexually explicit conduct for the purpose of producing visual depictions of such

conduct, knowing, and having reason to believe, that such visual depictions if produced,

as requested, would result in their transmission using a means and facility of interstate

and foreign commerce, specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                  COUNT SEVENTEEN

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about December 2019 to in or about May 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly persuade, induce, entice, and coerce J.T., a minor female who had

not attained the age of 18 years, to engage in sexual activity for which any person could

be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                   COUNT EIGHTEEN

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about January 2020 to in or about April 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, C.L., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                   COUNT NINETEEN

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about January 2020 to in or about April 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce C.L., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                   COUNT TWENTY

                       Transfer of Obscene Materials to a Minor

The Grand Jury Further Charges:

       From in or about January 2020 to in or about April 2020, in the District of North

Dakota, and elsewhere,

                                     DAWSON M. ROUSE

did, by using any means of interstate commerce, knowingly transfer obscene matter to an

individual, C.L., who had not attained the age of 16 years, knowing the individual had not

attained the age of 16 years;

       In violation of Title 18, United States Code, Section 1470.




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                                 COUNT TWENTY-ONE

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about December 2019 to in or about May 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, D.B., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                COUNT TWENTY-TWO

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about December 2019 to in or about May 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce D.B., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                               COUNT TWENTY-THREE

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about September 2018 to in or about May 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, G.L., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                COUNT TWENTY-FOUR

                             Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about February 2019 to in or about May 2019, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce a minor, namely, K.B., to engage

in sexually explicit conduct for the purpose of producing visual depictions of such

conduct, knowing, and having reason to believe, that such visual depictions if produced,

as requested, would result in their transmission using a means and facility of interstate

and foreign commerce, specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                COUNT TWENTY-FIVE

                             Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about January 2018 to in or about December 2018, in the District of

North Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce a minor, namely, C.S., to engage

in sexually explicit conduct for the purpose of producing visual depictions of such

conduct, knowing, and having reason to believe, that such visual depictions if produced,

as requested, would result in their transmission using a means and facility of interstate

and foreign commerce, specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                 COUNT TWENTY-SIX

                             Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about March 2020 to in or about April 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce a minor, namely, P.V., to engage

in sexually explicit conduct for the purpose of producing visual depictions of such

conduct, knowing, and having reason to believe, that such visual depictions if produced,

as requested, would result in their transmission using a means and facility of interstate

and foreign commerce, specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                               COUNT TWENTY-SEVEN

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about March 2020 to in or about April 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce P.V., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                               COUNT TWENTY-EIGHT

            Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

      From in or about January 2020 to in or about May 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

knowingly received visual depictions of M.G. using a means and facility of interstate and

foreign commerce, specifically, the internet, the production of which visual depictions

involved the use of minors engaging in sexually explicit conduct and which depictions

were of such conduct;

      In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                               COUNT TWENTY-NINE

          Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

      From in or about March 2019 to in or about September 2019, in the District of

North Dakota,

                                  DAWSON M. ROUSE

knowingly received visual depictions of M.R. using a means and facility of interstate and

foreign commerce, specifically, the internet, the production of which visual depictions

involved the use of minors engaging in sexually explicit conduct and which depictions

were of such conduct;

      In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                                    COUNT THIRTY

            Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

      From in or about December 2019 to in or about May 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

knowingly received visual depictions of D.B. using a means and facility of interstate and

foreign commerce, specifically, the internet, the production of which visual depictions

involved the use of minors engaging in sexually explicit conduct and which depictions

were of such conduct;

      In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                                 COUNT THIRTY-ONE

            Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

      From in or about February 2019 to in or about May 2019, in the District of North

Dakota,

                                  DAWSON M. ROUSE

knowingly received visual depictions of K.B. using a means and facility of interstate and

foreign commerce, specifically, the internet, the production of which visual depictions

involved the use of minors engaging in sexually explicit conduct and which depictions

were of such conduct;

      In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                                COUNT THIRTY-TWO

          Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

      From in or about January 2018 to in or about December 2018, in the District of

North Dakota,

                                  DAWSON M. ROUSE

knowingly received visual depictions of C.S. using a means and facility of interstate and

foreign commerce, specifically, the internet, the production of which visual depictions

involved the use of minors engaging in sexually explicit conduct and which depictions

were of such conduct;

      In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                               COUNT THIRTY-THREE

            Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

      From in or about March 2020 to in or about April 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

knowingly received visual depictions of P.V. using a means and facility of interstate and

foreign commerce, specifically, the internet, the production of which visual depictions

involved the use of minors engaging in sexually explicit conduct and which depictions

were of such conduct;

      In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                                COUNT THIRTY-FOUR

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about April 2019 to in or about April 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, A.S., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                 COUNT THIRTY-FIVE

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about April 2019 to in or about April 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce A.S., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                  COUNT THIRTY-SIX

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       In or about April 2020, in the District of North Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, A.J.M., to engage in sexually explicit

conduct for the purpose of producing visual depictions of such conduct, knowing, and

having reason to believe, that such visual depictions if produced, as requested, would

result in their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                COUNT THIRTY-SEVEN

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       In or about April 2020, in the District of North Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce A.J.M., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                COUNT THIRTY-EIGHT

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about June 2019 to in or about April 2020, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, R.P., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                 COUNT THIRTY-NINE

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about June 2019 to in or about April 2020, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce R.P., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                    COUNT FORTY

                       Transfer of Obscene Materials to a Minor

The Grand Jury Further Charges:

       From in or about June 2019 to in or about April 2020, in the District of North

Dakota, and elsewhere,

                                     DAWSON M. ROUSE

did, by using any means of interstate commerce, knowingly transfer obscene matter to an

individual, R.P., who had not attained the age of 16 years, knowing the individual had not

attained the age of 16 years;

       In violation of Title 18, United States Code, Section 1470.




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                                  COUNT FORTY-ONE

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about July 2019 to in or about September 2019, in the District of North

Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce A.J., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                  COUNT FORTY-TWO

    Attempted Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

       From in or about July 2019 to in or about September 2019, in the District of North

Dakota,

                                  DAWSON M. ROUSE

knowingly received, and attempted to receive, visual depictions of A.J. using a means

and facility of interstate and foreign commerce, specifically, the internet, the production

of which visual depictions involved the use of minors engaging in sexually explicit

conduct and which depictions were of such conduct;

       In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                                COUNT FORTY-THREE

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about April 2019 to in or about June 2019, in the District of North

Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, S.S., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                 COUNT FORTY-FOUR

    Attempted Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

       From in or about April 2019 to in or about June 2019, in the District of North

Dakota,

                                  DAWSON M. ROUSE

knowingly received, and attempted to receive, visual depictions of S.S. using a means

and facility of interstate and foreign commerce, specifically, the internet, the production

of which visual depictions involved the use of minors engaging in sexually explicit

conduct and which depictions were of such conduct;

       In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                                  COUNT FORTY-FIVE

       Coercion and Enticement of a Minor to Engage in Unlawful Sexual Activity

The Grand Jury Further Charges:

       From in or about November 2019 to in or about December 2019, in the District of

North Dakota, and elsewhere,

                                  DAWSON M. ROUSE

did use a facility of interstate and foreign commerce, to wit, Snapchat, and other internet

services, to knowingly attempt to persuade, induce, entice, and coerce E.A., a minor

female who had not attained the age of 18 years, to engage in sexual activity for which

any person could be charged with a criminal offense;

       In violation of Title 18, United States Code, Section 2422(b).




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                                   COUNT FORTY-SIX

    Attempted Receipt of Images Depicting the Sexual Exploitation of Children

The Grand Jury Further Charges:

       From in or about November 2019 to in or about December 2019, in the District of

North Dakota,

                                  DAWSON M. ROUSE

knowingly received, and attempted to receive, visual depictions of E.A. using a means

and facility of interstate and foreign commerce, specifically, the internet, the production

of which visual depictions involved the use of minors engaging in sexually explicit

conduct and which depictions were of such conduct;

       In violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1).




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                                COUNT FORTY-SEVEN

                       Transfer of Obscene Materials to a Minor

The Grand Jury Further Charges:

       From in or about November 2019 to in or about December 2019, in the District of

North Dakota, and elsewhere,

                                     DAWSON M. ROUSE

did, by using any means of interstate commerce, knowingly transfer obscene matter to an

individual, E.A., who had not attained the age of 16 years, knowing the individual had

not attained the age of 16 years;

       In violation of Title 18, United States Code, Section 1470.




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                                 COUNT FORTY-EIGHT

                        Attempted Sexual Exploitation of a Child

The Grand Jury Further Charges:

       From in or about November 2019 to in or about December 2019, in the District of

North Dakota,

                                  DAWSON M. ROUSE

did knowingly use, persuade, induce, entice, and coerce, and attempted to use, persuade,

induce, entice, and coerce a minor, namely, E.A., to engage in sexually explicit conduct

for the purpose of producing visual depictions of such conduct, knowing, and having

reason to believe, that such visual depictions if produced, as requested, would result in

their transmission using a means and facility of interstate and foreign commerce,

specifically, the internet;

       In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                              FORFEITURE ALLEGATION

The Grand Jury Further Finds Probable Cause That:

       Upon conviction of violating Title 18, United States Code, Section 2422(b), as

charged in this Superseding Indictment,

                                   DAWSON M. ROUSE

shall forfeit to the United States any and all matter which contains visual depictions

produced, transported, shipped, and received in violation thereof, and any and all

property used and intended to be used in any manner and part to commit and to promote

the commission of such violations, including, but not limited to, the following:

           • One iPhone XS; Serial number G0NXN3A4KPFX.

       By virtue of commission of the felony offense as charged in this Superseding

Indictment, all right, title, and interest in the above-described property is vested in the

United States and is hereby forfeited to the United States pursuant to Title 18, United

States Code, Section 2428.

                                            A TRUE BILL:

                                            _________________________________
                                            /s/ Foreperson
                                            Foreperson

/s/ Drew H. Wrigley
DREW H. WRIGLEY
United States Attorney

GLD:tmg




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